835 F.2d 875Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Hubert Earl SPRUILL, Plaintiff-Appellant,v.James M. LONG;  Ricky W. Champian;  George Fountain;Mitchell D. Norton;  James W. Hardison;  Keith B.Mason;  William Griffin, Jr.;  DonHicks, Defendants-Appellees.
    No. 87-7270.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1987.Decided Dec. 11, 1987.
    
      Hubert Earl Spruill, pro se.
      Before WIDENER, K.K. HALL, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Although we grant leave to proceed in forma pauperis, we dispense with oral argument because the dispositive issues recently have been decided authoritatively.  Accordingly, we affirm the judgment below on the reasoning of the district court.  Spruill v. Long, C/A No. 87-490-CRT (E.D.N.C. July 2, 1987).
    
    
      2
      AFFIRMED.
    
    